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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION
UNITED STATES OF AMERICA

      VS                                           CASE NO.    3:08cr136LAC/MD

DAVID W. WEBB

                              REFERRAL AND ORDER

Referred to Magistrate Judge Davis on    July 2, 2009
Type of Motion/Pleading: REQUEST TO TRAVEL
Filed by: DEFENDANT              on 7/1/09        Document 73
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
                                 on               Doc.#
                                 on               Doc.#
                                 WILLIAM M. McCOOL, CLERK OF COURT

                                    /s/ Elizabeth Cooley
                                    Deputy Clerk

                                    ORDER
Upon consideration of the foregoing, it is ORDERED this 2nd day of
July, 2009, that:
(a)   The requested relief is GRANTED.
(b)




                                    /s/   Miles Davis
                                    MILES DAVIS
                                    UNITED STATES MAGISTRATE JUDGE
